(Rev. 10/2023)
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                                       United States District Court – Western District of Washington
                                                       TRANSCRIPT ORDER FORM


                         Court Reporter: Nancy Bauer                                                    Judicial Officer: Robert S. Lasnik

                 Case No. ______________________
                          3:22cv5035                                        Case Name: ____________________________________________
                                                                                       Soto Palmer, et al. v. Hobbs, et al.

                 Date(s):                 Proceedings to be transcribed:                            Court Reporter (if different from selection above):
                 2/9/2024                 Oral Argument on Remedial Issues




                 For Appeal? ✔ No                   Yes                 Court of Appeals Case No. ___________________________________
                 If you are submitting this form to designate transcripts for appeal only, and do not wish to request the preparation of any transcripts, please
                 skip to, and complete, the Additional Comments and Contact Information sections, sign, date, and submit this form via CM/ECF.


                    Please choose one:                     Maximum Transcript Fees – Per Page
                                                             Original  1st Copy     2nd Copy                          Requested Delivery Date*
                            Ordinary Transcript (30 day)     $4.00     $1.00        $ .70                                         02/28/2024
                            14-Day Transcript (14 day)       $4.70     $1.00        $ .70
                            Expedited Transcript (7 day)     $5.35     $1.00        $ .70                         *Before filing this form, you MUST first
                    ✔       3-Day Transcript (3 day)         $6.00     $1.20        $ .85                         contact the individual court reporter to
                            Daily Transcript (next morning) $6.70      $1.35        $1.00                         secure your requested delivery date.
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                                                                        -------     -------                       days will be honored when possible.
                            Realtime Transcript              $3.40



                        ✔    PDF (default delivery format)
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                 Additional Comments:




                                                                               Contact Information
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                 Billing Reference # (if applicable):




                 Andrew R. Stokesbary
                 _______________________________________________________
                                                                                                                             02/26/2024
                                                                                                                             ____________________
                 Signature                                                                                                    Date




                        PRINT                                                    SAVE AS                                                         RESET
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                                                                       INSTRUCTIONS

           • Use this form to order the transcription of proceedings. Complete a separate order form for each case number. An original must be
             ordered and prepared prior to the availability of copies. The original fee is charged only once.

           • Delivery Time: You MUST contact each individual court reporter to secure your requested delivery date prior to filing this form.
             Requests for delivery of less than 30 days will be honored when possible. Once contacted, the court reporter will notify you of the
             amount of the required deposit fee which may be mailed or delivered to the court reporter. Delivery time is computed from the date
             of receipt of the deposit fee, or receipt of the signed order form from the federal government.

           • Filing with the Court: Parties to the case must electronically file this form in the CM/ECF system. Non-parties and pro se litigants
             should deliver a copy of this form to the Clerk's Office or email a copy to: TranscriptOrderForm@wawd.uscourts.gov.

                   o If you are a CJA attorney requesting a transcript, please contact the CJA Panel Administrator to assist you in placing your
                     transcript order through eVoucher.

           • Completion of Order: The court reporter will notify you when the transcript is completed. If the deposit fee was insufficient to cover
             all charges, the court reporter will notify you of the balance due which must be paid prior to receiving the completed order.

           • NOTE: Full price may be charged only if the transcript is delivered within the agreed upon time frame. For example, if an order for
             expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the 14-day delivery rate,
             and if not completed and delivered within 14 calendar days, payment would be at the ordinary delivery rate.

           • Designation of Transcripts on Appeal: This form must be completed whether or not transcripts will be designated, and must be filed
             in the district court case in CM/ECF. Please place your transcript order far enough in advance for the court reporter(s) to complete
             and file the requested transcripts prior to any Ninth Circuit deadlines.

                   o If you are submitting this form to designate transcripts for appeal only, and do not wish to request the preparation of any
                     transcripts, please leave the Transcript Fees / Completion Date section blank, complete the Additional Comments and
                     Contact Information sections, sign, date, and submit this form via CM/ECF.

           • For additional information and court reporter contact information, please visit the Court's website.
